Case 9:20-md-02924-RLR Document 2492 Entered on FLSD Docket 12/21/2020 Page 1 of 1




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                                20-MD-2924
   LITIGATION
                                                                   JUDGE ROBIN L ROSENBERG
                                                           MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

              AGREED ORDER GRANTING UNOPPOSED MOTION TO DROP
            EMCURE PHARMACEUTICALS LTD. FROM MASTER COMPLAINTS

            THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to Drop Emcure Pharmaceuticals Ltd. from Master Complaints [DE # 2470], without

   prejudice, pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of Civil Procedure 21. 1

   Having reviewed the Unopposed Motion, and being otherwise fully advised in the premises, it is

   hereby ORDERED and ADJUDGED that the Unopposed Motion is GRANTED. Defendant

   Emcure Pharmaceuticals Ltd. is dropped, without prejudice, from the following Master

   Complaints:

                    a.       Master Personal Injury Complaint [DE # 887] at ¶ 84.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 21st day of

   December, 2020.


                                                        ROBIN L. ROSENBERG




   1
     “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
   Consumer Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
   Pretrial Order # 40, the specific paragraph number in the corresponding Master Complaint affected by the modification
   are identified herein.
